Indictment unsealed on 3/24/2022
@ 10:00 am as to Defendant #11        __________________
by Mag/Judge L. Patrick Auld          __________________

                              UNITED STATES DISTRIC'I' OURT

                          MIDDLE DISTR      1' OF     ORTH AROLINA


         UNIT D STATES OF AMERICA

                     v.
                                                                                Fl�ED
                                                                               MAR 2 1 2022
         DARIUS RAYSHAUN KING,
             a.k.a. "Diddo,"
             a.k.a. "Ditto "
             a.k.a. ''LB,"
              a.k.a. "Lightbr ad,"
             a.k.a. "Quixl ,                        1:22CR      75
         JH ST N KELVIN MITCHELL,
             a.k.a. "J-West/                        INDICTMENT
               .l .a. ''Big Wixked,"
         RICKY A LEN WILLIAMS,                      SEALED
             a.k.a. "Raw,"
         JACKII DEMETRIU         FLOYD,             Jsusc §2
             a.k.a. 'Boss,"                         1 s JT s Q § 922(e)(l)
           Q
         SA UAN LANARD ROUSE,                       JS TT S G   § 922fo)
             a.k.a. "SQ,"                           18 :Us.c.   § 924(c)
             a.k.a. "Playdoe,'                           s
                                                    JS IT C     § J512(a)
         KENN I TH MALIK WISE                       1 S IT$ C   § 1959(a)(5)
               .k.a. "KG,"                          JS IT $ C   § J 96Z(d)
             a.k. a. "Kenny/'                       21 JT S G § 64J
             a.k.a. "Big Psyxho,"                   21 :USG § 846
         BRANDON DONTE TIPPS,
             a.l .a. "Tipps "
         JAQUAN TYREE WIL AMS­
         CLARK,
             a.k.a. "Jay Jay/'
             a.1 .a. "JJ,"
             a.k.a. P yxho Jay,
             a.k.a. '     mon,"
         J EN RASHAD FORD,
             a.lea. "Pronto,"

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 JEREMY WAYNE HASTY,
     a.k.a. "Seno,"
     a.k.a. "Seno2x,"
 JOSEPH MORANT TISDALE,
     a.k.a. "Jody,"
     a.k.a. "Jody Wixked,"
 ROBERT LEE TOWNSEND, JR.,
     a.k.a. "Jeezy,"
 TERRANCE GERNADO COLEMAN,
     a.k.a. "Little T,"




                         THE GRAND JURY CHARGES:

                                COUNT ONE
      (Racketeer Influenced Corrupt Organization (RICO) Conspiracy)
                            (18 u.s.c. § 1962(d))

       The Grand Jury for the Middle District of North Carolina charges that:

I.     Introductory Allegations

       1. At all times relevant to this Indictment, in the Middle District of North

Carnlina and elsewhere, [1] DARIUS RAYSHAUN KING, a.k.a. "Diddo," a.k.a.

"Ditto," a.k.a. "LB," a.k.a. "Lightbread," a.k.a "Quixk," [2] JHUSTYN KELVIN

MITCHELL, a.k.a "J-West," a.k.a. "Big Wixked," [3] RICKY ALLEN

WILLIAMS, a.k.a. "Raw," [4] JACKII DEMETRIUSS FLOYD, a.k.a. "Boss," [5]

SAQUAN LANARD ROUSE, a.k.a. "SQ," a.k.a. "Playdoe," [6] KENNETH

MALIK \VISE, a.k.a. "KG," a.k.a. "Kenny," a.k.a. "Big Psyxho," [7J BRANDON

DONTE TIPPS, a.k.a. "Tipps," [8] JAQUAN WILLIAMS-CLARK, a.lea. "Jay

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Jay,'' a.k.a. "JJ," a.k.a. "Psyxho Jay," a.k.a. "Demon," [9] JALEN RASHAD

FORD, a.k.a. "Pronto," [10] JEREMY WAYNE HASTY, a.k.a. "Seno," a.k.a.

"Seno2x," [11] JOSEPH MORANT TISDALE, a.k.a. "Jody," a.k.a. "Jody

Wixked," [12] ROBERT LEE TOWNSEND, JR., a.k.a. "Jeezy,"

                                       and others known and unknown to the Grand

Jury, were members and associates of an Dl'ganization engaged in, among other

things, acts involving murder, drug trafficking, robbery, extortion, and witness

tampering. At all relevant times, this organization, known the Quixk Nation ("QN")

or Quixk Money Gang ("QMG") (hereinafter "QN/QMG"), operated in the Middle

District of North Carolina and elsewhere. QN/QMG, including its leadership,

membership, and associates, constituted an "enterprise," as defined by Title 18,

United States Code, Sections 1961(4) and 1959(b)(2), that is, a group of individuals

associated in fact, which was engaged in, and the activities of which affected,

interstate and foreign commerce. The enterprise constituted an ongoing organization

whose members and associates functioned as a continuing unit for a common purpose

of achieving the objectives of the enterprise.

IL     QN/QMG Enterprise

       1.    Nine TTey Gangsters ("NTG," "9TRE," ((9TREY," or "93") is a subset of

the United Blood Nation CUBN"). With branch operations in seve1·al eastern and

southern states, including North Carolina, NTG participates in the same criminal

activities, and functions with the same set of purposes, hierarchy, rules, operations,

terminology, and symbolism, as does the overall UBN. NTG traffics in narcotics, and


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                a)   Beginning in or about 2012 and continuing to the p1·esent, KING,

MITCHELL, WILLIAMS, FLOYD, ROUSE, WISE, TIPPS, WILLIAMS-CLARK,

FORD, HASTY, TISDALE, TOWNSEND, - and TERRANCE GERNADO

COLEMAN, conspired with each other, and others known and unknown to the Grand

Jury, to knowingly and intentionally distribute and to possess with the intent to

distribute controlled substances, including, but not limited to, heroin, fentanyl,

hydrocodone, cocaine, crack cocaine, marihuana, MDMA, and analogue controlled

substances.

                b)   On or about October 31, 2013, under his Facebook account

username "Steven Bodkin," KING posted a photograph of ROUSE posing alone with

a red bandanna arnund his neck. The caption of the photograph Teads "Happy trey-
1st."


                c)   On   Ol'   about December 22, 2013, undei· his Facebook account

username "Steven Bodkin," KING posted a picture of himself holding a paperbound

copy of the ''The Trey Way," a book authored by UBN/NTG Godfather Garland "S.L"

Tyree.

                d)   On or about October 26, 2014, ROUSE gathered with QN/QMG

members and associates at a vigil for a recently murdered QN/QMG member known

within the enterprise as "EJ."

                e)   On or about October 26, 2014, ROUSE possessed a Remington

.45 caliber fi.Tearm officers found during the search of a high-ranking QN/QMG gang

member's car.


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             f)    On or about April 6, 2014, MITCHELL and S.C. possessed a

Taurus .357 caliber pistol, a Smith & Wesson 9mm pistol, and marihuana outside

Club Cabaret. MITCHELL was a convicted felon.

             g)    On or about Januru:y 25, 2015, QN/QMG members and associates

assaulted a 1·ival gang member at the Great Stops Gas Station by punching and

hitting him. On or about January 25, 2015, while driving away from the scene of the

assault of rival gang member K.R., ROUSE possessed with the intent to distribute

cocaine base. In addition, the car ROUSE was driving contained KING's North

Carolina identification card, jail documents for MITCHELL, and a paperbound copy

of "The Trey Way," a book autho1·ed by UBN/NTG Godfather Garland "S.I." Tyree.

             h)    On or about October 29, 2015, under the Facebook account

username "Jhustyn Mitchell," MITCHELL posted a picture of himself standing with

KING and two other QM/QMG members. The caption to the post reads "100 BBA" or

"Billy Bad Ass," a reference to QN/QMG/NTG association or membership.

             i)    On or about November 12, 2015, MITCHELL brandished a

firearm, and threatened and assaulted a female associate outside her home on Beck

Street.

             j)    On 01· about December 9, 2015, QN/QMG associate T.P. drove

MITCHELL, WISE, and WILLIAMS to Beck Sti·eet to shoot rival gang member.

             k)    On or about December 9, 2015, MITCHELL, WISE, and

WILLIAMS murde1·ed J.A.

             1)    On or about December 9, 2015, MITCHELL, WISE, and


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QN/QMG gang member COLEMAN saw at the state p1·obation office two days before

be "taken care of," or words to that effect

attempted to murder the QN/QMG gang member because they believed he was

cooperating with law enforcement.

              iii)      On or about March 7, 2019, KING called a meeting and ordered

QN/QMG members to pay money toward the funeral services for deceased QN/QMG

member M.S. a.k.a. Spazz. Thereafter, KING demoted MITCHELL from his rank of

"Low" of QN/QMG Wixked Line to the rank of "flat" for his failure to contribute to the

funeral expenses of M.S. in the days following the meeting.

              jjj)      On or about April 24, 2019, TISDALE possessed with the intent

to distribute heroin, cocaine, and suspected MDMA.

               kkk) On or about August 2, 2019, KING distributed approximately

two ounces of heroin to four different QN/QMG membeTS, including HASTY, for them

to re-distribute for an upcoming trip to Las Vegas, Nevada.

              111)      On or about August 2, 2019, HASTY possessed with the intent

to distribute heroin.

              mmm)           On or about August 7, 2019, KING received payment for

some of the heroin he distributed to four QN/QMG members on August 2, 2019.       Tom

on or about August 8, 2019, to on or about August 13, 2019, KING, HASTY, and

other QN/QMG membel'S and associates traveled to Las Vegas, Nevada, to celebrate

KING's birthday.

              nnn)           On or about September 6, 2019, ROUSE shot at and


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                    Controlled Substances Act) > and 846 (conspiracy to distribute

                    controlled substances); and

             c.     acts indictable under:

                    1. J 8 TT S C § J 5] 2 (relating to tampering with a witness,

                       victim, or an informant); and

                    2. J 8 TT S C § J 5] 3 (relating to retaliating against a witness,

                       victim, or an informant).

      4.     On or about January 9, 2019, in th County of Guilford, in the Middle

District of North Carolina, and elsewhere, the defendant,




aided and abetted by others known and unknown to the Grand Jury, for the purpose

of gaining entrance to and maintaining and increasing position in QN/QMG, an

enterprise engaged in racketeering activity, did knowingly and intentionally attempt

to murder a witness, in violation of North Carolina General Statutes Sections 14-

17(a) and 14-2.5.

      All in violation of Title 18, United States Code, Sections 1959(a)(5) and 2.




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                                    COUNT FOUR

  (Use or Carry a Firearm During and in Relation to a Crime of Violence)
                        (] 8 U,S C, §§ 924lc) and fil

       1.     On or about January 9, 2019, in County of Guilford, in the Middle

District of North Carolina, and elsewhere, the defendant,




aided and abetted by others known and unknown to the G1·and Jury, did knowingly

and intentionally use and carry a firearm during and in relation to a crime of violence

for which he may be prosecuted in a court of the United States, that being the

Attempted Murder in Aid of Racketeering of a witness as charged in Count Three of

this Indictment, in violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

      2.     It is further alleged that the defendant, aided and abetted by others

known and unknown to the Grand Jury, brandished one or more of said firearms, in

violation of Title 18, United States Code, Section 924(c)(l)(A)(ii).

       3.    It is further alleged that the defendant, aided and abetted by others

known and unknown to the Grand Jury, discharged one or more of said fii·earms, in

violation of Title 18, United States Code, Section 924(c)(l)(A)(iii).

      All in violation of 'I'itle 18, United States CodP., Sections 924(c) and 2.




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                                   COUNT FIVE

            (Retaliating Against a Witness, Victim, or Informant)
                       (18  u,s,c,
                                §§ 1513la}(l}(C} and fil

      1.     On or about January 9, 2019, in the County of Guilford, in the Middle

District of N01'th Carolina, and elsewhere, the defendant,




aided and abetted by others known and unknown to the Grand Jury, did knowingly

and intentionally attempt to murder a witness with the intent to retaliate against

that witness for pTOviding to a law enforcement officer information relating to the

commission or possible commission of a federal offense.

      All in violation of Title 18, United States Code, Sections 1513(a)(l)(B) and 2.




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                                  Substitute Assets

       4.    If, as a rnsult of any act or omission of the defendants, any of the

property described above:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    divided without difficulty,

the United States, pul'Suant to 18 1J S C § 1963(m) and 21 U.S.C. § 853(p). shall be

entitled to forfeiture of substitute property up to the value of the forfeitable property

described above.

                                                  DATED: March 21, 2022
                                                  SANDRA J. HAIRSTON
                                                  United States Attorney


                                                  BY �
                                                  Assistant United States Attorney


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F6REPERSON              \




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